       Case 3:20-cv-00311-DPM Document 5 Filed 11/17/20 Page 1 of 1



           IN THE UNITED ST ATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    NORTHERN DIVISION

DEURSLA LASHAY BARRON                                                  PLAINTIFF

v.                        No. 3:20-cv-311-DPM

EMILY JONES, Officer,
Craighead County Detention Center                                     DEFENDANT

                                ORDER
     The Court adopts Magistrate Judge Harris' s unopposed
recommendation, Doc. 4.        FED.   R. Crv. P. 72(b) (1983 addition to
advisory committee notes).       Barron's complaint will be dismissed
without prejudice for failure to state a claim.     This dismissal counts as
a "strike" for purposes of 28 U.S.C. § 1915(g).             An in forma pauperis
appeal from this Order and accompanying Judgment would not be
taken in good faith.   28 U.S.C. § 1915(a)(3).
     So Ordered.

                                                        f
                                  D .P. Marshall Jr.
                                  United States District Judge

                                      I7   lv!Ne lN1t-zPA )...0 ~ O
